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                       EXHIBIT 80
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                                                                      Deepak Ahuja
                                                                        8/5/2021
                                                                   Exhibit 80
                                                              Lisa Moskowitz, CSR 10816, CRR, RPR
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MINUTES – ELON MUSK TESLA
LOCATION: Tesla Factory, San Francisco
DATE:         31 July 2018


Attendance
  Firm             Attendee                  Firm             Attendee
  PIF              H.E Yasir Al-Rumayyan     Tesla            Elon Musk

  PIF              Saad Al Jarboa            Tesla            Deepak Ahuja
  PIF              Naif Al Mogren            Tesla            Sam Teller




Apologies: None




Agreed actions
1-To provide the plan and the financial calculations to take Tesla Private (Elon).



Meeting Agenda & Notes:
    -    Disscussing current Tesla performance.
    -    H.E Yar told Elon that PIF bought less than 5% stake in Tesla.
    -    Elon facing a problem with the stock price, Elon Said it’s highly volatile and
         any news can affect the price and the problem that most of the negative news
         are fake.
    -    Elon: running a public company is headache my time is wasted between
         issuing a statements and disclosures.
    -    Elon: I want to take the company private so I can focus.
    -    H.E Yar: are you going to take it public again after you take it private, Elon:
         No, not while I am running it.




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   -    Elon: I think it’s a 200 billion company probably 500 billion in the long term.
   -    H.E Yar: I believe in Tesla and we would like to see where we can collaborate
        with you and I would like to listen more about your plan to take it private, we
        are a long term investors.
   -    Elon: I have some problems with Masa SBG.
   -    H.E Yar: Masa is just one thing which is SVF, in PIF we are independent and
        I am the one calling the shots in PIF.
   -    Discussing Tesla production goals, Elon: in the next 8 or 10 years we will
        have 10 factories each with 2 million production capacity.
   -    H.E Yar: we have a solar project in KSA we will reach 200GW by 2030.
   -    Elon: we also have some projects of clean energy.
   -    H.E Yar: how can we take this forward? I mean between us.
   -    H.E Yar and Elon agreed that the teams should talk then they will be
        engaged.
   -    H.E Yar: what is the percentage of your ownership in the company?
   -    Elon: around 19%, but I have some options if I its exercised it will be 25%.
   -    H.E Yar: whats the percentage needed to take the company private?

   -    Deepak Ahuja: more than 50% , but I will check if its need more.
   -    H.E Yar: I would like to listen to your plan Elon and what are the financial
        calculations to take it private in the next week and if I did not receive
        anything I will call you.




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